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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                      *
                                                *
        v.                                      * 21-CR-140
                                                *
                                                *
 LARRY BROCK                                    *
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                                  UPDATED EXHIBIT LIST

 Ex. No.     Description                              Witness         Identified    Admitted
    1        Photo
    2        Photo
    3        Photo
    4        January 14, 2021 transcript*
    5        December 31, 2020 Article
    6        November 9, 2022 302


*Mr. Brock reserves the right to introduce exhibits designated by the government and may
supplement this list with materials recently produced.




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